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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

             v.                                       Case No. 3:03CR140-03/RV

MITCHELL JACKSON SEALE III
__________________________________/


                           ORDER REDUCING SENTENCE

      Currently pending is the Government’s motion for a reduction of the defendant's
sentence under Rule 35(b), Federal Rules of Criminal Procedure. (Doc.419 ) The
Government has certified defendant Seale’s subsequent substantial assistance in the
investigation of prosecution of other individuals, so that a reduction of sentence under
Rule 35(b) is warranted.
      Upon consideration, I find that the grounds set out in the Government's motion
do constitute substantial assistance within the meaning of Rule 35(b), and that the
Government's motion should be, and is hereby, GRANTED. Accordingly, defendant
Seale’s sentence and judgment entered herein on April 23, 2004, is hereby amended
and his sentence of imprisonment is reduced from a term of one hundred eighty (180)
months to a term of seventy-two (72) months, followed by three years of supervised
release. In all other respects, the defendant's judgment of April 23, 2004, remains in
full force and effect.
      DONE AND ORDERED this 13th day of July, 2006.


                                 /s/ Roger Vinson
                                 ROGER VINSON
                                 Senior U.S. District Judge
